Case 2:05-cr-20018-SH|\/| Document 32 Filed 06/03/05 Page 1 of 2 Page|D 35

 
 

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IN THE UNITED sTATEs DISTRICT cOURT Fl\~ED B* n""

FoR THE wEsTERN DISTRICT 01'-' TENNESSEE o _
wEsTERN DIVISION 05 JUH w PH\Z- 02

ROBEF\'§' s. 1);§5;61;§9
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UNITED STATES OF AMERICA,

)
}
Plaintiff, )
)

vs. ) CR. NO. 05-20018-Ma
)
ROJARD LAKE, )
STEVE COOPER, )
)
Defendants- )

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DELA'Y

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from April 2l, 2005 through August l2, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDG
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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable Samuel Mays
US DISTRICT COURT

